Sent from Outlook

From: Stephanie Carvlin
Sent: Friday, September 3, 20219:49 AM
To: Drenick(
Subject: New inmate, Dr. Natalie Mayflower Sours Edwards, Reg. # 92703-083

I am counsel for Dr. Natalie Mayflower Sours Edwards. Dr. Edwards has
been designated to FPC Alderson to serve a six-month term of
incarceration for her conviction in the Southern District of New York
under docket 19-cr-0064 (GHW). She is due to surrender today,
September 3, 2021. While I understand that Alderson will perform its
own health evaluation of Dr. Edwards on her admission, I write to
provide you with her recent medical records and information about her
health.

I'm attaching three documents. One is dated September 2, 2021, and is
entitled, "My Health Information." This reflects Dr. Edwards' current
medications, her current allergies and her health issues. The second
document is a form entitled, "Patient First Consolidated Continuity of
Care Document." This record, which contains the results of recent blood
work, documents Dr. Edwards' historical "problem list", allergies (and
adverse reactions) and, most significantly, contains information about
her most recent visit on August 25, 2021. (Several of Dr. Edwards'
health issues are document in her Presentence Investigation Report, as
well.) The assessment notes, among other things,




                                  The third document, also from Patient
First, is an email sent to Dr. Edwards on September 1, 2021. This email
reflects a referral to Dr. Stephen Bickson, an MD who is affiliated with
the Division of Gastroenterology, Hepatology and Nutrition at Virginia
Commonwealth University School of Medicine.

Given that Dr. Edwards will be incarcerated, she will be dependent on
Alderson to provide the necessary diagnosis and treatment, particularly
related tol

Thank you for your attention to this issue.

Stephanie Carvlin
917-549-0873
